         Case 21-05036-gs     Doc 43   Entered 07/26/22 07:41:40     Page 1 of 2




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   4
     Entered on Docket
    5July 26, 2022
___________________________________________________________________
   6
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   7   Nevada Bar No. 1607             Solomon B. Genet, Esq. #617911 – Admitted Pro Hac Vice
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  17 Attorneys for Christina W. Lovato, Chapter 7 Trustee
                              UNITED STATES BANKRUPTCY COURT
  18
                                        DISTRICT OF NEVADA
  19
  20    In re                                      Lead Case No.: BK-19-50102-gs
                                                   (Chapter 7)
  21    DOUBLE JUMP, INC.
                                                   Substantively Consolidated with:
  22             Debtor.                            19-50130-gs DC Solar Solutions, Inc.
  23                                                19-50131-gs DC Solar Distribution, Inc.
                                                    19-50135-gs DC Solar Freedom, Inc.
  24
  25
        CHRISTINA W. LOVATO,                       Adversary No.: 21-05036-gs
  26
                 Plaintiff,
  27
        v.
  28                                               JUDGMENT BY DEFAULT
        JCB CONSULTING, INC. fka J&C


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      Case 21-05036-gs          Doc 43   Entered 07/26/22 07:41:40        Page 2 of 2




 1   CONSULTING, INC.; and CARRIE SUE
     BODEN-CARPOFF aka CAROLINE SUE
 2   BODEN-CARPOFF aka CARRIE CARPOFF Hearing Date: N/A
     aka CARRIE BODEN,                Hearing Time:
 3
 4                 Defendant.
 5
            Default was entered against Defendant JCB Consulting, Inc. fka J&C Consulting, Inc. on
 6
     June 29, 2022, Adv. ECF No. 40. The Plaintiff has requested entry of judgment by default and has
 7
     filed an affidavit of the amount due. Furthermore, it appears from the record that this Defendant is
 8
     not an infant or incompetent person.
 9
            Therefore, pursuant to Fed. R. Civ. P. 55, as incorporated by Fed. R. Bankr. P. 7055,
10
     judgment is entered against JCB Consulting, Inc. fka J&C Consulting, Inc. in favor of the Plaintiff
11
     as follows:
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            1.        Judgment against Defendant JCB Consulting, Inc. fka J&C Consulting, Inc. in the
13
     amount of $16,019,000.00, together with interest at the federal rate from May 17, 2022.
14
     Respectfully submitted by:
15
     HARTMAN & HARTMAN
16
     /s/ Jeffrey L. Hartman
17   Jeffrey L. Hartman, Esq., Attorney for Plaintiff
18   MELAND BUDWICK, P.A.
19   /s/ Solomon B. Genet
     Solomon B. Genet, Esq., Attorney for Plaintiff
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